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              PSJ3
            Exhibit 522
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Hydrocodone Rescheduling Advocacy Group Positions
February, 2013
Kathy Sapp
US Medical Advocacy, US Medical Affairs



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Organizations Opposed to Reclassification

   The American Academy of Hospice and Palliative Medicine (AAHPM)
   The American Academy of Pain Management (AAPM)
   The American Academy of Pain Medicine (AAPM)
   The American Association of Oral and Maxillofacial Surgeons
   The American Cancer Society Cancer Action Network (ACS CAN)
   The American Dental Association
   The American Optometric Association
   The American Pain Society
   American Society for Pain Management Nursing (ASPMN)
   Center to Advance Palliative Care
   Citizen Advocacy Center (CAC)
   Healthcare Distribution Management Association (HDMA)
   Hematology/Oncology Pharmacy Association
   Hospice and Palliative Nurses Association
   Massachusetts Pain Initiative
   National Association of Chain Drug Stores (NACDS)
   National Community Pharmacists Association (NCPA)
   National Fibromyalgia and Chronic Pain Association
   National Palliative Care Research Center
   Oncology Nursing Society (ONS)
   US Pain Foundation
   Virginia Center
   Wisconsin Pain Initiative



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Sub-Group of Pain Care Forum Participants Who
Signed Letter to FDA With Recommendations


  Sub-Group Participants raising concerns to FDA with the advisory
  Committee’s Recommendations:

   American Academy of Pain Management (AAPM), American Association of Nurse Assessment
  Coordination (AANAC), American Cancer Society Cancer Action Network (ACS CAN), American Society of
  Consultant Pharmacists (ASCP), Amputee Coalition, CarsonCompany, LLC, Citizen Advocacy Center
  (CAC), Interstitial Cystitis Association, Long Term Care Pharmacy Alliance (LTCPA), Massachusetts Pain
  Initiative, NADONA, National Association of Chain Drug Stores (NACDS), National Community Pharmacists
  Association (NCPA), National Fibromyalgia & Chronic Pain Association, National Hospice and Palliative
  Care Organization, Pain Treatment Topics, US Pain Foundation and the Wisconsin Pain Initiative.


  Key points:
  As patient advocacy and health professional organizations, we are committed to combating illegal use of
  prescription drugs. However, it is also important to consider the unintentional consequences of policy
  changes that can cause serious difficulties for patients, and even result in harm and further suffering.
  “No evidence currently exists to show that reclassifying hydrocodone will curb misuse and abuse of pain
  medications. In contrast, there is evidence that rescheduling medications to higher classifications can
  reduce patient access to medications and cause harm” “We stand ready to work with policy makers, the
  health care community, and drug enforcement officials to develop and promote alternative policies that
  would address this important public health issue.”




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American Academy of Pain Management
(AAPM)



AAPM
  AAPM is one of the organizations with the Pain Care
  Forum that signed the letter to the FDA.

Note: Bob Twillman, Ph.D. will be speaking at the
  public hearing (content of presentation unknown, but
  last I understood from him was that he had pulled
  together some numbers that show how costly the
  reclassification would be for the government)
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The American Academy of Pain Medicine
(AAPM) position



AAPM
  AAPM commented in a press release to the FDA that “it shares
  the commitment of the petitioners to find ways to curb
  prescription pain medication harm. In its response, which was
  signed by 12 members of the Academy’s Board of Directors, the
  response expressed the concern that adoption of the three focal
  points of the PROP petition to limit the dose, the duration and
  modify the labeling for opioids that are prescribed for
  noncancerous pain would have unintended societal
  consequences.”




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American Pain Society (APS) Position


   APS:
     “APS does not support their proposed labeling changes, as we
       perceive an insufficient scientific evidence base to support these
       recommendations. Further, we are concerned that implementation
       of these labeling changes which would dictate indications, dosing
       and duration of opioid treatment will not accomplish the intended
       goals, but instead have unintended negative consequences for
       patients including but not limited to untreated pain and loss of
       access to individualized care.” Robert Fillingim, PhD, President,
       APS
     Letter to FDA signed by APS Board of Directors, Directors at Large,
       Past Presidents, and Public Policy Committee Members

   Response to Question posed by US MAd to APS 2/4/13 in regard to current position: Per
    Randi Romanek “Greg Terman (APS) is speaking on behalf of the University of Washington
    and Ed Michna (APS board member) is speaking on behalf of us and Harvard. We are re-
    working our position statement so it is not ready to share. I will certainly share the
    information when the team lets me know it is ready.”
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American Academy of Hospice and Palliative
Medicine (AAHPM)


   AAHPM
     AAHPM is “deeply concerned about and opposed to reclassification of
       hydrocodone-containing combination products as Schedule II substances.
       AAHPM members are committed to stemming the tide of prescription
       abuse, misuse and diversion, but believe it is critical to consider the ways in
       which policy changes with this aim can have negative, unintended collateral
       effects. Medications containing hydrocodone in combination with other
       pain relievers are currently prescribed for both acute pain and chronic
       cancer and non-cancer pain, and we contend reclassification will jeopardize
       legitimate patient access to what has proven to be highly-effective
       treatment.”

   Answer to question posed by USMAd to AAHPM in regard to upcoming public hearing: Per Randi
    Romanek “AAHPM will be making brief remarks at the FDA Public Hearing on the Impact of Approved
    Drug Labeling on Chronic Opioid Therapy. AAHPM’s President Elect Amy Abernethy, MD FAAHPM, will
    speak on Feb. 7. We have not finalized her remarks.
   AAHPM will follow up by submitting a letter to the FDA on this matter. The deadline for public comments
    isn’t until April, so we’ll be working on the letter. We can share a copy once it’s submitted.
   Jackie Kocinski, our Director, Health Policy & Government Relations will be able to pull some talking points
    for us after the meeting is held.”



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Reflex Sympathetic Dystrophy Syndrome
Association (RSDSA) Position


   RSDSA
    “ RSDSA is concerned that a change in labeling will adversely affect
    insurance coverage for medications prescribed for conditions that are
    no longer listed in the FDA-approved labeling. Such prescribing is
    called “off- label” use. Off-label prescribing is common and
    accepted; but denial of coverage for off-label prescriptions is common
    in the United Kingdom, Europe, and the United States. If that
    happens, access to opioid pain medication will be limited just as
    effectively as if the prescriptions were prohibited by the FDA labeling,
    which they are not. Therefore, RSDSA would like to again make the
    distinction between labeling of indications for the use of medications
    by the FDA – which does not limit physicians’ prescribing practices –
    and insurance carriers’ denial of coverage for off-label prescriptions –
    which would limit CRPS patients’ access to opioid pain medications
    covered by health care insurance”



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U.S. Pain Foundation Position


U.S. Pain Foundation

U.S. Pain Foundation “ does not feel a "one-size-fits-all" mentality
   will help the medical or pain community. We agree there is a
   problem, and are committed to finding ways to remedy it.
   However, we do not think strict mandates are the answer. “



(Note: Paul Gileno, Founder and President will be at the February
   7-8 hearing. He has been training Wendy Foster, working with
   her to help expand their advocacy efforts. Wendy is scheduled
   to speak the first day; she is one of the first “Invisible Project”
   model’s who didn’t think she could leave her house; now she is
   one of the U.S. Pain Foundation’s top ambassadors.)

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American Chronic Pain Association (ACPA)


   ACPA

    Penney Cowan with ACPA does not share her
     position on this topic and cannot attend the
     hearing because of her position with the FDA




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